 Case 7:23-cv-00443                                      Document 15-4                                Filed on 05/20/24 in TXSD                           Page 1 of 1




                                      AFFIDAVIT OF ISAAC HERNANDEZ


                On this day, Isaac Hernandez, appeared before me, the undersigned notary public, and

after I administered an oath to him, upon his oath, he said:

1.             "My name is Isaac Hernandez. I am over eighteen (18) years of age and I have never been

convicted of a crime. I am of sound mind and capable of making this affidavit. The facts set

forth herein are within my personal knowledge and are true and correct. I have personal knowledge

of the facts stated in this affidavit and if sworn as a witness, I could and would competently

testify to the truth of these facts.

2.              "I am the Operations Manager for Equisolar, Inc."

3.              "It is the standard policy of Equisolar to offer a Spanish translation of all important

documents and communications to our Spanish-speaking clients.

                Executed on May 20, 2024




                                                                                                            Isaac Hernandez




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       A notary public or other otficer completing this nt 10 whk.h this certificat  e 11 attached.
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       State of California, County of                                �
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AFFIDAVIT OF ISAAC HERNANDEZ
